           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 1 of 24 PageID: 1




          Wacks & Hartmann, LLC
          Attorneys at Law
          55 Madison Avenue, Suite 320A
          Morristown, NJ 07960-7397
          (973) 644-0770
          Attorneys for Plaintiffs, Eugene Temkin, Frank
          Anderson, Jeri Schwebs, April Yarborough,
          and all others similarly situated

                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY


          EUGENE TEMKIN, an individual;
          FRANK ANDERSON, an individual;
          JERI SCHWEBS, an individual; APRIL
          YARBOROUGH, an individual; on
          behalf of themselves and all others
          similarly situated,

                             Plaintiffs,
                                                           Civil Action No. _________________
                  vs.

          PORTFOLIO RECOVERY
          ASSOCIATES, LLC, a Delaware
                                                             CLASS ACTION COMPLAINT
          Limited Liability Company; and JOHN
                                                                       and
          AND JANE DOES NUMBERS 1
                                                              DEMAND FOR JURY TRIAL
          THROUGH 25, BEING FICTITIOUS
          NAMES OF UNIDENTIFIED
          PERSONS WHO CONTROL THE
          POLICIES AND PRACTICES
          INVOKED BY PORTFOLIO
          RECOVERY ASSOCIATES, LLC,

                             Defendants.




pds1307
                                                   Page 1 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 2 of 24 PageID: 2




                Plaintiffs, Eugene Temkin, Frank Anderson, Jeri Schwebs, and April

          Yarborough, on behalf of themselves and all others similarly situated, by way of

          Complaint against the Defendants, say:

                                           I. PARTIES

                1.      EUGENE TEMKIN (“TEMKIN”)is a natural person who, at all times

          relevant to this complaint, resided in the City of Hackensack, Bergen County, New

          Jersey.

                2.      FRANK ANDERSON (“ANDERSON”) is a natural person who, at

          all times relevant to this complaint, resided in the Village of New Hyde Park,

          Nassau County, New York.

                3.      JERI SCHWEBS (“SCHWEBS”) is a natural person who, at all times

          relevant to this complaint, resided in the City of Orange, Orange County,

          California.

                4.      APRIL YARBOROUGH (“YARBOROUGH “) is a natural person

          who, at all times relevant to this complaint, resided in the City of Katy, Harris

          County, Texas.

                5.      At all times relevant to this complaint, PORTFOLIO RECOVERY

          ASSOCIATES, LLC (“PORTFOLIO”) is a for-profit limited liability company

          existing pursuant to the laws of the State of Delaware. PORTFOLIO maintains its

          principal business address at 120 Corporate Boulevard, City of Norfolk, Norfolk


pds1307
                                             Page 2 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 3 of 24 PageID: 3




          County, Virginia.

                6.     Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25,

          are sued under fictitious names as their true names and capacities are yet unknown

          to Plaintiffs. Plaintiffs will amend this complaint by inserting the true names and

          capacities of these DOE defendants once they are ascertained..

                                   II. JURISDICTION & VENUE

                7.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28

          U.S.C. § 1331.

                8.     Venue is appropriate in this federal district pursuant to 28 U.S.C. §

          1391(b) because a substantial part of the events giving rise to Plaintiffs’ claims

          occurred within this federal judicial district, and because all the Defendants reside

          in the State of New Jersey within the meaning of 28 U.S.C. § 1391(b) and (c) by,

          in the case of the individual Defendants, maintaining a residence in the State of

          New Jersey or, in the case of the corporate Defendants, being subject to personal

          jurisdiction in the State of New Jersey at the time this action is commenced.

                                III. PRELIMINARY STATEMENT

                9.     Plaintiffs, on their own behalf and on behalf of the class they seek to

          represent, and demanding a trial by jury, bring this action for the illegal practices

          of the Defendants who used false, deceptive and misleading practices, and other

          illegal practices, in connection with their attempts to collect alleged debts from the


pds1307
                                               Page 3 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 4 of 24 PageID: 4




          Plaintiffs and others. The Plaintiffs allege that the Defendants’ collection practices

          violate the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

          (“FDCPA”), the California Rosenthal Fair Debt Collection Practices Act, Cal. Civ.

          Code §§ 1788, et seq. (“RFDCPA”), and the Texas Debt Collection Practices Act,

          Tex. Fin. Code §§ 392, et seq. (“TDCPA”).

                10.    Such practices include, inter alia:

                (a)    Leaving telephonic voice messages for consumers, which fail to

                       provide meaningful disclosure of Defendants’ identity;

                (b)    Leaving telephonic voice messages for consumers, which fail to

                       disclose that the call is from a debt collector; and

                (c)    Leaving telephonic voice messages for consumers, which fail to

                       disclose the purpose or nature of the communication (i.e. an attempt to

                       collect a debt).

                11.    The FDCPA regulates the behavior of collection agencies attempting

          to collect a debt on behalf of another. The United States Congress has found

          abundant evidence of the use of abusive, deceptive, and unfair debt collection

          practices by many debt collectors, and has determined that abusive debt collection

          practices contribute to a number of personal bankruptcies, marital instability, loss

          of jobs, and invasions of individual privacy. Congress enacted the FDCPA to

          eliminate abusive debt collection practices by debt collectors, to ensure that those


pds1307
                                                Page 4 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 5 of 24 PageID: 5




          debt collectors who refrain from using abusive debt collection practices are not

          competitively disadvantaged, and to promote uniform State action to protect

          consumers against debt collection abuses. 15 U.S.C. § 1692(a) - (e).

                12.    The FDCPA is a strict liability statute, which provides for actual or

          statutory damages upon the showing of one violation. The Third Circuit has held

          that whether a debt collector’s conduct violates the FDCPA should be judged from

          the standpoint of the “least sophisticated consumer.” Graziano v. Harrison, 950

          F.2d 107, 111, fn5 (3d Cir. 1991).

                13.    To prohibit harassment and abuses by debt collectors the FDCPA, at

          15 U.S.C. § 1692d, provides that a debt collector may not engage in any conduct

          the natural consequence of which is to harass, oppress, or abuse any person in

          connection with the collection of a debt and names a non-exhaustive list of certain

          per se violations of harassing and abusive collection conduct. 15 U.S.C. §

          1692d(1)-(6). Among the per se violations is the placement of telephone calls

          without meaningful disclosure of the caller’s identity, 15 U.S.C. § 1692d(6).

                14.    To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e,

          outlaws the use of false, deceptive, and misleading collection letters and names a

          non-exhaustive list of certain per se violations of false and deceptive collection

          conduct. 15 U.S.C. § 1692e(1)-(16). Among these per se violations are: the failure

          by debt collectors to disclose in initial oral communications that the debt collector


pds1307
                                               Page 5 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 6 of 24 PageID: 6




          is attempting to collect a debt and that any information obtained will be used for

          that purpose, and the failure to disclose in subsequent oral communications with

          consumers that the communication is from a debt collector, 15 U.S.C. § 1692e(11).

                15.    The RFDCPA regulates collection agencies and original creditors

          attempting to collect debts on their own behalf. The California legislature has

          determined that the banking and credit system and grantors of credit to consumers

          are dependent upon the collection of just and owing debts and that unfair or

          deceptive collection practices undermine the public confidence that is essential to

          the continued functioning of the banking and credit system and sound extensions

          of credit to consumers. The California legislature has further determined that there

          is a need to ensure that debt collectors exercise their responsibility with fairness,

          honesty, and due regard for the debtor’s rights and that debt collectors must be

          prohibited from engaging in unfair or deceptive acts or practices.

                16.    The TDCPA, like the FDCPA, prohibits debt collectors from using

          deceptive, coercive, threatening, abusive, and other repugnant practices for the

          purpose of collecting a consumer debt.

                17.    The Plaintiffs, on behalf of themselves and all others similarly

          situated, seek statutory damages, attorney fees, costs, and all other relief, equitable

          or legal in nature, as deemed appropriate by this Court, pursuant to the FDCPA,

          RFDCPA, TDCPA, and all other common law or statutory regimes. The Plaintiffs,


pds1307
                                                Page 6 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 7 of 24 PageID: 7




          on behalf of themselves and all others similarly situated, request that they and the

          class members be awarded statutory, common law, or actual damages payable by

          the Defendants.

                18.    This case involves money, property, or other equivalent, due or owing

          or alleged to be due or owing from natural persons by reason of consumer credit

          transactions. As such, this action arises out of “consumer debts” and “consumer

          credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).

                19.    This case involves an obligation, or an alleged obligation, primarily

          for personal, family, or household purposes, and arising from a transaction or

          alleged transaction. As such, this action arises out of “consumer debt” as that term

          is defined by Tex. Fin. Code § 392.001(2)

                               IV. FACTS REGARDING TEMKIN

                20.    Sometime prior to March 2008, TEMKIN allegedly incurred a

          financial obligation arising out of a transaction in which the money, property,

          insurance, or services which are the subject of the transaction are primarily for

          personal, family, or household purposes and defaulted on that obligation (“Temkin

          Obligation”).

                21.    The alleged Temkin Obligation is a “debt” as defined by 15 U.S.C.

          §1692a(5).




pds1307
                                               Page 7 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 8 of 24 PageID: 8




                22.    TEMKIN is, at all times relevant to this complaint, a “consumer” as

          that term is defined by 15 U.S.C. § 1692a(3).

                23.    TEMKIN is informed and believes, and on that basis alleges, that

          sometime prior to March 2008, the creditor of the Temkin Obligation either

          directly or through mesne transactions assigned, placed, transferred, or sold the

          debt to PORTFOLIO for collection.

                              V. FACTS REGARDING ANDERSON

                24.    Sometime prior to December 2007, ANDERSON allegedly incurred a

          financial obligation arising out of a transaction in which the money, property,

          insurance, or services which are the subject of the transaction are primarily for

          personal, family, or household purposes and defaulted on that obligation

          (“Anderson Obligation”).

                25.    The alleged Anderson Obligation is a “debt” as defined by 15 U.S.C.

          §1692a(5).

                26.    ANDERSON is, at all times relevant to this complaint, a “consumer”

          as that term is defined by 15 U.S.C. § 1692a(3).

                27.    ANDERSON is informed and believes, and on that basis alleges, that

          sometime prior to December 2007, the creditor of the Anderson Obligation either

          directly or through mesne transactions assigned, placed, transferred, or sold the

          debt to PORTFOLIO for collection.


pds1307
                                              Page 8 of 24
           Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 9 of 24 PageID: 9




                              VI. FACTS REGARDING SCHWEBS

                28.   Sometime prior to February 2008, SCHWEBS allegedly incurred a

          financial obligation arising out of a transaction in which the money, property,

          insurance, or services which are the subject of the transaction are primarily for

          personal, family, or household purposes and defaulted on that obligation

          (“Schwebs Obligation”).

                29.   The alleged Schwebs Obligation is a “debt” as defined by 15 U.S.C.

          §1692a(5) and Cal. Civ. Code § 1788.2(d).

                30.   SCHWEBS is, at all times relevant to this complaint, a “consumer” as

          that term is defined by 15 U.S.C. § 1692a(3).

                31.   SCHWEBS is, at all times relevant to this complaint, a “person” as

          defined by Cal. Civ. Code § 1788.2(g).

                32.   SCHWEBS is, at all times relevant to this complaint, a “debtor” as

          defined by Cal. Civ. Code § 1788.2(h).

                33.   SCHWEBS is informed and believes, and on that basis alleges, that

          sometime prior to February 2008, the creditor of the Schwebs Obligation either

          directly or through mesne transactions assigned, placed, transferred, or sold the

          debt to PORTFOLIO for collection.




pds1307
                                              Page 9 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 10 of 24 PageID: 10




                           VII. FACTS REGARDING YARBOROUGH

                34.     Sometime prior to March 2008, YARBOROUGH allegedly incurred a

          financial obligation arising out of a transaction in which the money, property,

          insurance, or services which are the subject of the transaction are primarily for

          personal, family, or household purposes and defaulted on that obligation

          (“Yarborough Obligation”).

                35.     The alleged Yarborough Obligation is a “debt” as defined by 15

          U.S.C. §1692a(5) and a “consumer debt” as defined by Tex. Fin. Code §

          392.001(2).

                36.     YARBOROUGH is, at all times relevant to this complaint, a

          “consumer” as that term is defined by 15 U.S.C. § 1692a(3) and Tex. Fin. Code §

          392.001(1).

                37.     YARBOROUGH is informed and believes, and on that basis alleges,

          that sometime prior to March 2008, the creditor of the Yarborough Obligation

          either directly or through mesne transactions assigned, placed, transferred, or sold

          the debt to PORTFOLIO for collection.

                          VIII. FACTS COMMON TO ALL PLAINTIFFS

                38.     PORTFOLIO collects, and attempts to collect, debts incurred, or

          alleged to have been incurred, for personal, family, or household purposes on

          behalf of creditors using the U.S. Mail, telephone, and Internet.


pds1307
                                               Page 10 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 11 of 24 PageID: 11




                39.    PORTFOLIO is a leading purchaser and servicer of performing and

          non-performing consumer debt.

                40.    PORTFOLIO is a nationwide debt collection company that manages

          receivables on debts purchased for its own account, and on behalf of other credit

          grantors.

                41.    In connection with its debt servicing operations, PORTFOLIO

          sometimes outsources collection activities to other collection agencies.

                42.    PORTFOLIO is a “debt collector” as defined by 15 U.S.C. §

          1692a(6), Cal. Civ. Code § 1788.2(c), and Tex. Fin. Code § 392.001(6).

                43.    PORTFOLIO is also a “Third-party debt collector” as defined by Tex.

          Fin. Code § 392.001(7).

                44.    At all times relevant to this complaint, PORTFOLIO has engaged in

          action, conduct, or practice in collecting, or in soliciting for collection, consumer

          debts that are due or alleged to be due a creditor, which constitutes “debt

          collection” as that term is defined by Tex. Fin. Code § 392.001(5).

                45.    Within the one year immediately preceding the filing of this

          complaint, PORTFOLIO contacted each of the Plaintiffs via telephone in an

          attempt to collect their respective alleged debts (i.e. the Temkin Obligation,

          Anderson Obligation, Schwebs Obligation, and Yarborough Obligation).




pds1307
                                              Page 11 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 12 of 24 PageID: 12




                46.    Within the one year immediately preceding the filing of this

          complaint, each of the Plaintiffs received at least one telephonic voice message on

          their home answering machines and/or cellular telephones (“Messages”).

                47.    Each of the Messages is a “communication” as defined by 15 U.S.C. §

          1692a(2).

                48.    Each of the Messages was left by persons employed by PORTFOLIO.

                49.    Whatever minor variations that may exist, each of the Messages

          uniformly failed to:

                       (a)   Provide meaningful disclosure of PORTFOLIO’s identity as the

                             caller;

                       (b)   Disclose that the communication was from a debt collector; and

                       (c)   Disclose the purpose or nature of the communication (i.e., an

                             attempt to collect a debt).

                50.    Each of the Messages is false, deceptive, and misleading in that the

          natural consequence of these communications is to harass, oppress, or abuse the

          least sophisticated consumer and other persons in violation of the FDCPA,

          RFDCPA, and TDCPA.

                51.    Each of the Messages is false, deceptive, and misleading insofar as

          PORTFOLIO failed to give meaningful disclosure of its identity, disclose the

          purpose of its call, or disclose that PORTFOLIO is a debt collector, thereby


pds1307
                                              Page 12 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 13 of 24 PageID: 13




          circumventing Congress’s intent to permit the Plaintiffs to make an informed

          decision as to whether they wished to speak with a debt collector.

                52.    Each of the Messages is false, deceptive, and misleading insofar as

          PORTFOLIO failed to give meaningful disclosure of its identity, disclose the

          purpose of its call, or disclose that PORTFOLIO is a debt collector, thereby

          circumventing the intent of the California Legislature to permit SCHWEBS to

          make an informed decision as to whether they wished to speak with a debt

          collector.

                53.    Each of the Messages is false, deceptive, and misleading insofar as

          PORTFOLIO failed to give meaningful disclosure of its identity, disclose the

          purpose of its call, or disclose that PORTFOLIO is a debt collector, thereby

          circumventing the intent of the Texas Legislature to permit YARBOROUGH to

          make an informed decision as to whether they wished to speak with a debt

          collector.

                54.    The Plaintiffs are informed and believe, and on that basis allege, that

          Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are natural

          persons and/or business entities all of whom reside or are located within the United

          States who personally created, instituted and, with knowledge that such practices

          were contrary to law, acted consistent with and oversaw policies and procedures

          used by the employees of PORTFOLIO that are the subject of this complaint.


pds1307
                                              Page 13 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 14 of 24 PageID: 14




          Those Defendants personally control the illegal acts, policies, and practices utilized

          by PORTFOLIO and, therefore, are personally liable for all of the wrongdoing

          alleged in this Complaint.

                      IX. POLICIES AND PRACTICES COMPLAINED OF

                55.    It is the Defendants’ policy and practice to leave “live” telephonic

          voice messages for consumers and other persons, such as the Messages, that

          uniformly fail to:

                       (a)     Provide meaningful disclosure of PORTFOLIO’s identity as the

                               caller;

                       (b)     Disclose that the communication is from a debt collector; and

                       (c)     Disclose the purpose or nature of the communication.

                56.    On information and belief, the Messages, as alleged in this complaint

          under the facts common to the Plaintiffs, number at least in the thousands, all of

          which uniformly fail to:

                       (a)     Provide meaningful disclosure of PORTFOLIO’s identity as the

                               caller;

                       (b)     Disclose that the communication is from a debt collector; and

                       (c)     Disclose the purpose or nature of the communication.




pds1307
                                               Page 14 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 15 of 24 PageID: 15




                                    X. CLASS ALLEGATIONS

                57.   This action is brought as a class action. Plaintiffs bring this action on

          behalf of themselves and on behalf of all other persons similarly situated pursuant

          to Rule 23 of the Federal Rules of Civil Procedure.

                58.   The First Plaintiff Class consists of all persons with addresses in the

          United States of America who received a telephonic voice message from

          PORTFOLIO left after one-year immediately preceding the commencement of this

          civil action up through and including the date of preliminary class certification,

          which message failed to meaningfully identify PORTFOLIO as the caller, disclose

          that the communication was from a debt collector, or state the purpose or nature of

          the communication.

                59.   The Second Plaintiff Class consists of all persons with addresses in

          the State of California who received a telephonic voice message from

          PORTFOLIO left after one-year immediately preceding the commencement of this

          civil action up through and including the date of preliminary class certification,

          which message failed to meaningfully identify PORTFOLIO as the caller, disclose

          that the communication was from a debt collector, or state the purpose or nature of

          the communication.

                60.   The Third Plaintiff Class consists of all persons with addresses in the

          State of Texas who received a telephonic voice message from PORTFOLIO left


pds1307
                                              Page 15 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 16 of 24 PageID: 16




          after one-year immediately preceding the commencement of this civil action up

          through and including the date of preliminary class certification, which message

          failed to meaningfully identify PORTFOLIO as the caller, disclose that the

          communication was from a debt collector, or state the purpose or nature of the

          communication.

                61.    The identities of all class members are readily ascertainable from the

          records of PORTFOLIO and those companies and governmental entities on whose

          behalf PORTFOLIO attempts to collects debts.

                62.    Excluded from the Plaintiff Classes are the Defendants and all

          officers, members, partners, managers, directors, and employees of PORTFOLIO,

          Defendants, and their respective immediate families, and legal counsel for all

          parties to this action and all members of their immediate families.

                63.    The class period is one year prior to the filing of the initial complaint

          in this action for all claims under the FDCPA, RFDCPA, and TDCPA and

          continues up to and including the date of preliminary class certification.

                64.    There are questions of law and fact common to the class, which

          common issues predominate over any issues involving only individual class

          members. The principal issues are whether the Defendants’ telephonic voice

          messages, such as the Live Messages and Pre-Recorded Messages, violate: 15

          U.S.C. §§ 1692d(6) and 1692e(11); Cal. Civ. Code § 1788.11(b) and 1788.17; and


pds1307
                                               Page 16 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 17 of 24 PageID: 17




          Tex. Fin. Code §§ 392.304(5)(A), 392.304(5)(B), and 392.304(19).

                65.   The Plaintiffs’ claims are typical of the class members, as all are

          based upon the same facts and legal theories.

                66.   The Plaintiffs will fairly and adequately protect the interests of the

          Plaintiff Class defined in this complaint. The Plaintiffs have retained counsel with

          experience in handling consumer lawsuits, complex legal issues, and class actions,

          and neither the Plaintiffs nor their attorneys have any interests, which might cause

          them not to vigorously pursue this action.

                67.   This action has been brought, and may properly be maintained, as a

          class action pursuant to the provisions of Rule 23 of the Federal Rules of Civil

          Procedure because there is a well-defined community interest in the litigation:

                (a)   Numerosity: The Plaintiffs are informed and believe, and on that

                      basis allege, that the classes defined above are so numerous that

                      joinder of all members would be impractical.

                (b)   Common Questions Predominate: Common questions of law and

                      fact exist as to all members of the Plaintiff Class and those questions

                      predominate over any questions or issues involving only individual

                      class members. The principal issues are whether the Defendants’

                      telephonic voice messages, such as the Live Messages and Pre-

                      Recorded Messages, violate: 15 U.S.C. §§ 1692d(6) and 1692e(11);


pds1307
                                              Page 17 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 18 of 24 PageID: 18




                     Cal. Civ. Code § 1788.11(b) and 1788.17; and Tex. Fin. Code §§

                     392.304(5)(A), 392.304(5)(B), and 392.304(19).

               (c)   Typicality: The Plaintiffs’ claims are typical of the claims of the class

                     members. Plaintiffs and all members of the Plaintiff classes have

                     claims arising out of the Defendants’ common uniform course of

                     conduct complained of herein.

               (d)   Adequacy: The Plaintiffs will fairly and adequately protect the

                     interests of the class members insofar as Plaintiffs have no interests

                     that are adverse to the absent class members. The Plaintiffs are

                     committed to vigorously litigating this matter. Plaintiffs have also

                     retained counsel experienced in handling consumer lawsuits, complex

                     legal issues, and class actions. Neither the Plaintiffs nor their counsel

                     have any interests which might cause them not to vigorously pursue

                     the instant class action lawsuit.

               (e)   Superiority: A class action is superior to the other available means

                     for the fair and efficient adjudication of this controversy because

                     individual joinder of all members would be impracticable. Class

                     action treatment will permit a large number of similarly situated

                     persons to prosecute their common claims in a single forum efficiently

                     and without unnecessary duplication of effort and expense that


pds1307
                                             Page 18 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 19 of 24 PageID: 19




                       individual actions would engender. An important public interest will

                       be served by addressing the matter as a class action, substantial

                       expenses to the litigants and to the judicial system will be realized,

                       and the potential inconsistent or contradictory adjudications will be

                       avoided as contemplated by Rule 23(b)(1) of the Federal Rules of

                       Civil Procedure.

                68.    Certification of a class under Rule 23(b)(3) of the Federal Rules of

          Civil Procedure is also appropriate in that:

                (a)    The questions of law and fact common to members of the class

                       predominate over any questions affecting an individual member; and

                (b)    A class action is superior to other available methods for the fair and

                       efficient adjudication of the controversy.

                69.    Plaintiffs request certification of a hybrid class combining the

          elements of Rule 23(b)(2) for equitable relief and Rule 23(b)(3) for monetary

          damages.

                          XI. FIRST CAUSE OF ACTION
            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          (AGAINST ALL DEFENDANTS)

                70.    Plaintiffs reallege and incorporate by reference the allegations in the

          preceding paragraphs of this Complaint.




pds1307
                                               Page 19 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 20 of 24 PageID: 20




                71.    Defendants violated the FDCPA. Defendants’ violations with respect

          to the Messages include, but are not limited to, the following:

                       (a)   Placing    telephone      calls   without      providing   meaningful

                             disclosure of PORTFOLIO’s identity as the caller in violation

                             of 15 U.S.C. § 1692d(6).

                       (b)   Failing to disclose in its initial communication with the

                             consumer that PORTFOLIO is attempting to collect a debt and

                             that any information obtained will be used for that purpose,

                             which constitutes a violation of 15 U.S.C. § 1692e(11).

                       (c)   Failing   to   disclose     in    all   oral   communications    that

                             PORTFOLIO is a debt collector in violation of 15 U.S.C. §

                             1692e(11).

                          XII. SECOND CAUSE OF ACTION
               VIOLATIONS OF THE CALIFORNIA ROSENTHAL FAIR DEBT
                           COLLECTION PRACTICES ACT
                     (BY SCHWEBS AGAINST ALL DEFENDANTS)

                72.    Plaintiffs reallege and incorporate by reference the allegations in the

          preceding paragraphs of this Complaint as if set forth at length herein.

                73.    PORTFOLIO violated the RFDCPA. PORTFOLIO’s violations with

          respect to the Messages include, but are not limited to, the following:

                       (a)   Placing telephone calls to SCHWEBS without providing

                             meaningful disclosure of PORTFOLIO’s identity as the caller

pds1307
                                               Page 20 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 21 of 24 PageID: 21




                             in violation of Cal. Civ. Code § 1788.11(b).

                       (b)   Leaving telephonic voice messages for SCHWEBS in an

                             attempt to collect a debt, wherein the Defendants violated 15

                             U.S.C. §§ 1692, et seq., as set forth above in Plaintiffs’ First

                             Cause of Action and is, therefore, also a violation of Cal. Civ.

                             Code § 1788.17.

                         XIII. THIRD CAUSE OF ACTION
           VIOLATIONS OF THE TEXAS DEBT COLLECTION PRACTICES ACT
                  (BY YARBOROUGH AGAINST ALL DEFENDANTS)

                74.    Plaintiffs reallege and incorporate by reference the allegations in the

          preceding paragraphs of this Complaint.

                75.    Defendants violated the TDCPA. Defendants’ violations with respect

          to the Messages include, but are not limited to, the following:

                       (a)   The failure to disclose in PORTFOLIO’s initial communication

                             with the consumer, when the communication is oral, that FSA

                             is attempting to collect a debt and that any information obtained

                             will be used for that purpose, which constitutes a violation of

                             Tex. Fin. Code § 392.304(5)(A).

                       (b)   Failing to disclose in subsequent oral communications that

                             PORTFOLIO is a debt collector in violation of Tex. Fin. Code

                             § 392.304(5)(B).


pds1307
                                                Page 21 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 22 of 24 PageID: 22




                76.    Leaving telephonic voice messages in an attempt to collect a debt,

          wherein the Defendant violated 15 U.S.C. §§ 1692e, 1692d, and subsections

          thereof, as set forth above in Plaintiffs’ First Cause of Action, which is, therefore,

          also a violation of Tex. Fin. Code § 392.304(19).

                                    XIV. PRAYER FOR RELIEF

                77.    WHEREFORE, Plaintiffs respectfully request that the Court enter

          judgment in their favor and in favor of the putative classes as follows:

          A.    For the FIRST CAUSE OF ACTION:

                (1)    An order certifying that the First Cause of Action may be maintained

                       as a class pursuant to Rule 23 of the Federal Rules of Civil Procedure

                       and appointing Plaintiffs and the undersigned counsel to represent the

                       First Class as previously set forth and defined above;

                (2)    An award of the maximum statutory damages for the Plaintiffs and the

                       First Class pursuant to 15 U.S.C. § 1692k(a)(B);

                (3)    Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §

                       1692k(a)(B)(3); and

                (4)    For such other and further relief as may be just and proper.

          B.    For the SECOND CAUSE OF ACTION:

                (1)    An order certifying that the Second Cause of Action may be

                       maintained as a class pursuant to Rule 23 of the Federal Rules of Civil


pds1307
                                               Page 22 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 23 of 24 PageID: 23




                     Procedure and appointing SCHWEBS and the undersigned counsel to

                     represent the Second Class as previously set forth and defined above;

               (2)   An award of the maximum statutory damages for SCHWEBS and the

                     Second Class pursuant to Cal. Civ. Code §1788.30(b);

               (3)   An award of attorney’s fees, litigation expenses, and costs pursuant

                     Cal. Civ. Code §1788.30(c), Cal. Code Civ. Proc. § 1021.5, and/or

                     under the substantial benefit and common fund doctrine in an amount

                     to be determined at trial; and

               (4)   For such other and further relief as may be just and proper.

          C.   For the THIRD CAUSE OF ACTION:

               (1)   An order certifying that the Third Cause of Action may be maintained

                     as a class pursuant to Rule 23 of the Federal Rules of Civil Procedure

                     and appointing YARBOROUGH and the undersigned counsel to

                     represent the Third Class as previously set forth and defined above;

               (2)   For injunctive relief for YARBOROUGH and the Second Plaintiff

                     Class, pursuant to Tex Fin. Code § 392.403(a)(1), including enjoining

                     the Defendants from engaging in further violations of Chapter 392 of

                     the Texas Finance Code as complained of herein;

               (3)   An award of actual damages pursuant to Tex Fin. Code §

                     392.403(a)(2) in an amount to be determined at trial;


pds1307
                                             Page 23 of 24
          Case 2:08-cv-04888-KSH-PS Document 1 Filed 10/01/08 Page 24 of 24 PageID: 24




                (4)    Attorney’s fees, litigation expenses, and costs pursuant to Tex Fin.

                       Code § 392.403(b); and

                (5)    For such other and further relief as may be just and proper.

                                                    WACKS & HARTMANN, LLC

                                                            /s/ Philip D. Stern
          Dated: October 1, 2008                       PHILIP D. STERN, ESQ.
                                             Attorney for Plaintiffs, Eugene Temkin, Frank
                                             Anderson, Jeri Schwebs, April Yarborough, and
                                                      all others similarly situated




                               XVII. DEMAND FOR JURY TRIAL

                PLEASE TAKE NOTICE THAT Plaintiffs demand a trial by jury against

          the Defendants, and each of them, for each cause of action so triable.

                                                    WACKS & HARTMANN, LLC

                                                            /s/ Philip D. Stern
          Dated: October 1, 2008                       PHILIP D. STERN, ESQ.
                                             Attorney for Plaintiffs, Eugene Temkin, Frank
                                             Anderson, Jeri Schwebs, April Yarborough, and
                                                      all others similarly situated




pds1307
                                              Page 24 of 24
